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 5
 6                       IN THE UNITED STATES DISTRICT COURT
 7                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
                                                )
 9   UNITED STATES OF AMERICA,                  ) Case No.: 2:15-cr-00177-GEB
10                                              )
                  Plaintiff,                    ) DEFENDANT’S STIPULATION AND
11                                              ) [PROPOSED] ORDER
           vs.                                  )
12                                              )
     JASON MATECKI, et al.,                     )
13                                              )
14                Defendants.                   )
                                                )
15
16         IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
17   Status Conference scheduled for March 18, 2016, at 9:00 a.m. is continued to April 1,
18   2016, at 9:00 a.m. in the same courtroom for a Change of Plea Hearing as to Mr. Matecki
19   only. Joshua Sigal, Assistant United States Attorney, and Thomas A. Johnson,
20   Defendant’s attorney, agree to this continuance. The parties submit that the ends of
21   justice are served by the Court excluding such time, so that counsel for each defendant
22   may have reasonable time necessary for effective preparation, taking into account the
23   exercise of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv); Local Code T4.
24
25   IT IS SO STIPULATED.
26
27   DATED: March 16, 2016                           By:    /s/ Thomas A. Johnson
                                                            THOMAS A. JOHNSON
28                                                          Attorney for Jason Matecki


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 1
     DATED: March 16, 2016                         BENJAMIN B. WAGNER
 2                                                 United States Attorney
 3                                           By:    /s/ Thomas A. Johnson for
                                                   JOSHUA SIGAL
 4                                                 Assistant United States Attorney
 5   IT IS SO ORDERED.
 6   Dated: March 18, 2016
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